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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

ROBERT BOSCH LLC, a
Delaware limited liability company,

      Plaintiff,                               Case No.
v.
                                               Hon.
AUTOLIV-NISSIN BRAKE SYSTEMS
AMERICA LLC, an Ohio limited liability
company, and EDUARDO HERRERA,
a Michigan citizen,

      Defendants.


S. Thomas Wienner (P29233)
Seth D. Gould (P45465)
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        COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

                    DEMAND FOR JURY TRIAL
__________________________________________________________________
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        Plaintiff Robert Bosch LLC (“Bosch”), for its complaint against Autoliv-

Nissin Brake Systems America LLC (“ANBS”) and Eduardo Herrera (“Herrera”)

(jointly, “Defendants”), states:

                             NATURE OF THE CASE

        1.   This is an action based upon: (1) the Defend Trade Secrets Act, 18

U.S.C. §§ 1836, et seq.; (2) the Computer Fraud and Abuse Act, 18 U.S.C. §1030;

(3) the Michigan Uniform Trade Secrets Act, MCL 445.1901 et seq.; and (4)

common law claims of breach of contract, unfair competition, unjust enrichment,

and tortious interference. Bosch seeks damages, injunctive relief, and other

appropriate relief to stop Defendants’ use, disclosure and misappropriation of

Bosch’s confidential and trade secret documents and information.

                                    PARTIES

        2.   Plaintiff Robert Bosch LLC is a Delaware limited liability company,

with offices at 38000 Hills Tech Drive, Farmington Hills, Michigan 48331.

Bosch’s sole member is Robert Bosch North America Corporation, a Delaware

corporation with its principal place of business at 38000 Hills Tech Drive,

Farmington Hills, Michigan 48331.

        3.   Defendant ANBS is an Ohio limited liability company whose

principal place of business is located at 2001 Industrial Dr., Findlay, Ohio 45839-

0763.



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       4.     Defendant Eduardo Herrera is a citizen of Michigan.

                          JURISDICTION AND VENUE

       5.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1331, 1338 and 1367.

       6.     This Court has personal jurisdiction over ANBS because it conducts

business in this District, and over Herrera because he resides and conducts business

in this District.

       7.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b) and

(c) because a substantial part of the events and transactions giving rise to Bosch’s

claim occurred in this District and Defendants reside in this District for venue

purposes.

                           FACTUAL BACKGROUND

Bosch’s Integrated Power Braking Trade Secret Technology

       8.     Bosch manufactures, markets, and sells automotive, consumer, and

industrial technology products throughout the United States, including vehicle

parts and systems.

       9.     Bosch’s Chassis Systems Control division develops and manufactures

numerous automotive systems, including adaptive cruise control systems, forward

collision warning systems, electronic stability control systems, brake actuation

systems, and electronic brake boost systems.



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      10.    This lawsuit concerns Defendants’ misappropriation of confidential

Bosch trade secret information pertaining to the next generation of brake

technology called integrated power braking (“IPB”). That information provides

Bosch with a competitive advantage in the highly competitive electric and hybrid

electric vehicle marketplace.

      11.    IPB represents a significant advancement in braking technology

because it merges two separate systems, electronic stability control and electric

brake booster, into a single integrated module.

      12.    An electric brake booster is an enhanced master cylinder setup used to

reduce the amount of pedal pressure needed for braking. It employs a booster

which acts with the master cylinder to give higher pressure to the brakes and/or

lower force applied on the brake pedal through a brake booster push-rod.

      13.    Electronic stability control, also referred to as an electronic stability

program (“ESP”), is a computerized technology that improves a vehicle's

stability by detecting and reducing loss of traction.

      14.    ESP automatically applies the brakes to help steer the vehicle when

the system detects loss of steering control. ESP automatically applies braking to

wheels individually, such as the outer front wheel to counter oversteer or the inner

rear wheel to counter understeer.




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      15.    Bosch has devoted significant resources to developing next generation

IPB technology, which is more compact and generates brake pressure faster than

competing products.

      16.    Bosch’s innovative IPB technology is suitable for all powertrains, and

is particularly useful in hybrid and electric vehicles.

      17.    In combination with ESP, Bosch’s electronic brake booster supplies

the braking-system redundancy utilized in vehicles with autonomous driving

functionality. Currently vehicles with autonomous driving functionality are on the

roadways, and the market for such vehicles will continue to expand.

      18.    With IPB technology, if one of the two components fails (i.e., ESP or

brake booster), the other can safely decelerate and stop the self-driving car without

the driver having to intervene.

      19.    Automated driving affects every aspect of the car – powertrain,

brakes, steering – and requires comprehensive systems expertise.

      20.    As vehicles gradually take over more and more driving tasks, safety-

critical systems such as brakes must satisfy special requirements.

      21.    In addition to improved stopping time, Bosch’s IPB technology can

increase efficiency in electric and hybrid electric vehicles through regenerative

braking.




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      22.    Regenerative braking recovers braking energy and converts it into

electricity, which extends an electric vehicle’s range.

      23.    In the highly competitive hybrid and electric vehicle industry, vehicles

will need to recover as much energy as possible while braking.

      24.    Bosch’s IPB is the world’s first series-produced IPB system, and

Bosch is currently the leading supplier of this technology.

      25.    Several other suppliers, including ANBS, are currently competing

with Bosch in this highly competitive marketplace.

      26.    ANBS was a new company which did not come into existence until

March 31, 2016, when Autoliv, Inc., a manufacturer of automotive safety systems,

finalized its joint venture with Nissin Kogyo, a braking system supplier, to form

ANBS.

Bosch Takes Extraordinary Steps to Protect its Confidential Information.

      27.    Bosch has acquired unique capabilities and achieved a leading

position in the highly competitive automotive industry by investing significant

time, effort, and money in developing intellectual property, trade secrets, and

technical and proprietary information.

      28.    Bosch’s intellectual property, trade secrets, and technical and

proprietary information include, without limitation, design data for the hardware,

software, and control aspects of Bosch’s IPB technology.



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      29.      This information is comprised of complex hardware and software

designs, computer-aided design (CAD) models, electrical schematics, simulations,

printed circuit board (PCB) fabrication data, and other data and information

relating to the design and development of cutting-edge IPB products.

      30.      The above-described information is confidential, proprietary, and

trade-secret information that has given Bosch an opportunity to obtain an

advantage over competitors who do not know or use that information.

      31.      The above-described information does not consist of trade or job skills

that one generally acquires simply by virtue of on-the-job training or industry

experience.

      32.      Bosch consistently uses several measures and practices to maintain

the secrecy and confidentiality of its intellectual property, trade secrets, and

technical and proprietary information, including the above-described IPB

information.

      33.      For example, Bosch employees, upon commencement of employment,

are required to execute an Agreement on Confidentiality (the “Confidentiality

Agreement”).

      34.      Employees    acknowledge     that   Bosch   confidential    information

includes, but is not limited to:

             Advance product plans



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             Unpublished financial data

             Unannounced plant construction, expansion, or improvements

             The amount of capital investment for new, expanded, or renovated
              facilities

             Proposed product prices and warranties

             Projected earnings

             Major upcoming changes in management, policy, or product

             Data showing the composition of the workforce

             Drawings, specifications, or operating characteristics of products or
              proposed products

             Test data

             Manufacturing methods, and

             Information on suppliers’ prices, quantities, and relations. (Ex. A.)

      35.      Each Confidentiality Agreement expressly prohibits employees from

disclosing any intellectual property, trade secrets, or technical, proprietary, or other

confidential information (“I will not use [Bosch’s] Confidential Information for

myself or for others or divulge or convey it to others during my employment with

[Bosch].”) Ex. A, Section 4.

      36.      The Confidentiality Agreement further requires that, upon termination

of employment from Bosch, each employee “will promptly deliver to [Bosch] all




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Confidential Information which is in my possession or under my control, and I will

not make or retain any copies of any Confidential Information.” Ex. A, Section 4.

       37.    As a further control, Bosch’s written policy contains a prohibition on

the use of personal hardware or software on company electronic systems.

Furthermore, with respect to Bosch’s own hardware, peripherals, and software,

employees are prohibited from making any modifications, additions or deletions

without express approval. More specifically, there is a blanket prohibition on the

installation of communications programs such as internet access software.

       38.    Bosch’s Code of Business Conduct also specifically addresses the

treatment of confidential information: "Confidential company information must be

kept secret. This obligation remains in effect after [the] employment contract

ends.” (Ex. B.)

       39.    Because Bosch operates in an environment where its competitors are

intensely interested in obtaining financial and operational information, employees

who are privy to such information are instructed to safeguard it and protect against

its disclosure.

       40.    Bosch has established a Data Security Organization (“DSO”) whose

mission is to promote security awareness and implement controls to safeguard data

and intellectual property in Bosch’s business units.




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      41.    Bosch stores its confidential information and trade secrets on a

private, confidential system that is hosted on an internal server to which only

authorized Bosch personnel have access.

      42.    In order to access Bosch’s server, the accessor must be granted access

by Bosch.

      43.    Additionally, the accessor must be given login credentials, which are

only available from Bosch’s information technology department.

      44.    In other words, the only manner in which Bosch’s server and the

above-described confidential information and trade secrets stored there may be

accessed is to possess login credentials which are provided only to authorized

Bosch personnel.

      45.    Additionally, even those Bosch personnel authorized to access

Bosch’s server via login credentials do not have access to the entire server.

      46.    Different personnel are permitted access to different portions of

Bosch’s server depending on the level of access necessary to perform their

respective job duties.

      47.    In other words, Bosch tailors each employee’s level of access

depending on that employee’s role at Bosch.

      48.    Bosch’s Chassis Systems Control division has established a detailed

procedure under which employees are required to request access rights to particular



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folders on Bosch’s server. The request must be evaluated and granted by the

responsible Bosch manager before the employee is permitted access.

      49.    Bosch’s server is Bosch’s private network infrastructure. It is not

accessible via an internet browser. Rather, authorized Bosch personnel may

remotely access the Bosch Server via a virtual private network (“VPN”). Bosch

personnel accessing the server via a VPN are subject to the same limitations and

protocol outlined above.

Defendants’ Wrongful Misappropriation of Bosch’s Trade Secrets

      50.    Bosch hired Herrera as a Senior Engineer on or about April 18, 2005.

      51.    At the commencement of his employment, Herrera signed the

Confidentiality Agreement, and agreed to maintain the confidentiality and secrecy

of Bosch’s confidential information and trade secrets. (Ex. A.)

      52.    Bosch employed Herrera for approximately 13 years in various

engineering capacities, until October 31, 2017 when Herrera left Bosch to join

ANBS.

      53.    During Herrera’s tenure at Bosch, he worked in the active safety unit

of Bosch’s Chassis Systems Control division. Herrera’s job responsibilities

included analyzing and developing requirements for brake systems for automated

vehicles.




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      54.      As a result of Herrera’s job responsibilities, he obtained access to

confidential Bosch information and trade secrets relating to various Bosch braking

systems products.

      55.      Bosch recently learned that, shortly before he left Bosch to join

ANBS, Herrera accessed Bosch’s server and opened numerous proprietary and

sensitive files (approximately 800 files).

      56.      Upon information and belief, Herrera copied many of these

proprietary and sensitive files to external storage devices.

      57.      Upon   information   and      belief,   Herrera   misappropriated   files

containing, inter alia, proprietary Bosch pricing and project management

information, as well as Bosch engineering trade secrets and manufacturing

processes.

      58.      The information Herrera misappropriated is not publicly available,

and is confidential information and trade secrets of Bosch.

      59.      There was no valid business reason for Herrera to access and copy

such files other than to take Bosch’s confidential IPB information with him and

share such information with ANBS, to assist ANBS in developing IPB technology

and to damage Bosch’s competitive advantage.

      60.      Several of the files Herrera accessed contain specific IPB project

information.



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      61.   Herrera did not work on the IPB development project he accessed.

      62.   In fact, many of the files that Herrera opened have nothing to do with

the work that Herrera was performing immediately prior to his departure from

Bosch.

      63.   Without Bosch’s specific and unique confidential information and

trade secrets, a competitor such as ANBS would have great difficulty designing or

developing the same products or providing the same services as Bosch.

      64.   Despite written demand made by Bosch, Defendant Herrera has failed

and/or refused to acknowledge his improper actions, and he and ANBS have failed

and/or refused to return Bosch’s confidential information.

      65.   Upon information and belief, ANBS and Herrera continue to utilize

Bosch trade secrets, proprietary information, and technology in violation of the

Confidentiality Agreement and applicable law.

      66.   Apart from the information intentionally misappropriated as described

above, the full scope of the confidential information and trade secret information

misappropriated by Defendants is currently unknown.

      67.   Until recently, ANBS did not even have an IPB product line.

      68.   Herrera is not the only Bosch employee to join ANBS.




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      69.    Before Herrera’s departure, a number of individuals who previously

worked in Bosch’s chassis control division similarly resigned and accepted

employment with ANBS.

      70.    Herrera and other former Bosch employees working at ANBS are now

in a position to help ANBS develop this nascent line by virtue of their familiarity

with Bosch’s trade secrets.

      71.    Upon information and belief, ANBS hired Herrera and other Bosch

employees to exploit: (a) their access to and knowledge of Bosch’s trade secrets

and confidential information to gain an unfair competitive advantage over Bosch in

the sale of IPB systems, and to allow ANBS to develop its own IPB system on the

back of Bosch’s proprietary knowledge and know-how; (b) their inside information

concerning Bosch’s IPB system and its customer-specific pricing and pricing

methodologies; and (c) their knowledge of and relationships with Bosch’s key

employees.

      72.    ANBS continues to solicit other Bosch employees.

      73.    Upon information and belief, ANBS also has solicited Bosch

customers in an attempt to win their business away from Bosch.

      74.    As a consequence of Defendants' actions, Bosch faces the prospect of

losing its most critical trade secrets and proprietary information in its IPB business




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to a competitor, and risks losing the value of the millions of dollars it has invested

in developing this business.

                               COUNT I
                    BREACH OF CONTRACT (HERRERA)

      75.    Bosch incorporates here the allegations contained in Paragraphs 1

through 74 as if they were fully set forth.

      76.    Herrera entered into a Confidentiality Agreement which prohibits him

from disclosing and/or using Bosch’s confidential and proprietary information,

technology, know-how and processes during and after his employment with Bosch

without Bosch’s express written consent.

      77.    All of the proprietary processes and techniques and confidential

information developed by Bosch are the property of Bosch and must, by law and

written agreement, be kept strictly confidential and out of the hands of Bosch’s

customers and competitors.

      78.    As described above, Herrera obtained and used proprietary Bosch

information without Bosch’s permission.

      79.    Herrera’s conduct, as described herein, constitutes a breach of the

Confidentiality Agreement.

      80.    Herrera’s breach of contract has directly and proximately caused

Bosch to suffer damages.




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      81.    Herrera has failed and/or refused to return Bosch’s confidential

information and trade secrets.

      82.    Instead, upon information and belief, Herrera and ANBS continue to

use Bosch’s confidential information and trade secrets to unfairly compete against

Bosch. Accordingly, Bosch is continuing to sustain damages.

      83.    Herrera’s wrongful conduct also has caused Bosch to sustain lost

profits, increased labor and administrative costs, and other consequential and

incidental damages.

                              COUNT II
      VIOLATION OF THE DEFEND TRADE SECRTS ACT OF 2016
              18 U.S.C. §§ 1836 et seq. (BOTH DEFENDANTS)

      84.    Bosch incorporates here the allegations contained in Paragraphs 1

through 83 as if they were fully set forth.

      85.    Defendants are obligated under the Defend Trade Secrets Act of 2016,

18 U.S.C. §§ 1836 et seq. (the “Defend Trade Secrets Act”) not to disclose or

misappropriate trade secret information belonging to Bosch.

      86.    The files and information Defendants obtained from Bosch’s server,

including technical and engineering information and designs, are trade secrets

within the meaning of the Defend Trade Secrets Act.

      87.    These trade secrets relate to Bosch products used in interstate and

foreign commerce.



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      88.    Defendants acquired knowledge of information belonging to Bosch

that constitutes a “trade secret” inasmuch as that information: (1) derives

independent economic value from not being generally known to, and not readily

ascertainable by proper means by, other persons who could obtain economic value

from its disclosure or use; and (2) is the subject of efforts that are reasonable under

the circumstances to maintain its secrecy.

      89.    At all times, Bosch has taken steps which were reasonable under the

circumstances to maintain the secrecy and confidentiality of its confidential

information and trade secrets and maintain with care any documents embodying

the same, requiring password access to the Bosch server, requiring confidentiality

agreements, and limiting access to sensitive information, among other measures.

      90.    Defendants knew or had reason to know that Bosch considered and

treated the information as confidential and secret.

      91.    The confidential information and trade secrets Defendants obtained

from the Bosch server are invaluable to Bosch and crucial to its business functions

and competitive position.

      92.    Defendants acquired the confidential information and trade secrets by

improper means.

      93.    Defendants’ conduct constitutes misappropriation of trade secrets

under the Defend Trade Secrets Act of 2016.



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      94.    Defendants’ misappropriation of Bosch’s trade secrets was willful and

malicious.

      95.    As a direct and proximate result of Defendants’ willful and malicious

misappropriation, Bosch has sustained and continues to sustain irreparable harm

and is entitled to recovery of the damages sustained, including attorneys’ fees,

treble damages, and all other relief this Court deems just and proper.

                            COUNT III
      VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT,
                   18 U.S.C. § 1030 (HERRERA)
      96.    Bosch incorporates here the allegations contained in Paragraphs 1

through 95 as if they were fully set forth.

      97.    Bosch utilizes protected computers in its interstate and foreign

commerce activities, which are connected to the internet.

      98.    Defendant Herrera had access to Bosch’s protected computers.

      99.    Bosch policy prohibits the use of its information technology to

transmit or copy, among other information, trade secrets or proprietary information

without Bosch’s prior authorization.

      100. Prior to separating from Bosch, and in violation of Bosch policy,

Defendant Herrera intentionally accessed Bosch’s protected computers and the

Bosch server without authorization or in a manner that exceeded his authorization

in order to obtain confidential information and trade secrets.



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      101. Defendant Herrera knowingly and with the intent to defraud obtained

information of value from Bosch, including the confidential information and trade

secrets described in this Complaint.

      102. Bosch has suffered damages as a direct and proximate result of

Defendant Herrera’s unauthorized access and/or access in a manner that exceeded

his authorized access.

                           COUNT IV
 VIOLATIONS OF THE MICHIGAN UNIFORM TRADE SECRETS ACT,
           MCL 445.1901 et seq. (BOTH DEFENDANTS)
      103. Bosch incorporates here the allegations contained in Paragraphs 1

through 102 as if they were fully set forth.

      104. Bosch created and developed unique information, programs,

methodologies, techniques, and processes for IPB brake systems.

      105. The unique engineering and design methods, techniques and processes

developed by Bosch are “trade secrets” within the meaning of the Michigan

Uniform Trade Secrets Act, MCL 445.1901 et seq., in that they are not readily

ascertainable by proper means by other persons who can obtain economic value

from their disclosure or use.

      106. Bosch made reasonable efforts to maintain the secrecy of its trade

secrets.




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        107. Bosch’s trade secrets were only disclosed to Bosch employees on a

need-to-know basis and only after receiving from each employee a signed

confidentiality agreement.

        108. Defendants have obtained possession and knowledge of Bosch’s trade

secrets through improper means, including theft, misrepresentation, and breach of

duty.

        109. Defendants were at all relevant times aware of the trade secrets that

they improperly obtained.

        110. Defendants have used and disclosed Bosch’s trade secrets for their

benefit, to the great expense and substantial detriment of Bosch.

        111. Defendants’ misappropriation, dissemination, and use of Bosch’s trade

secrets has caused Bosch to incur actual losses, including, but not limited to, the

loss of the expenses incurred in developing the misappropriated trade secrets, the

loss of Bosch’s competitive business advantage, and the loss of revenue associated

with IPB system sales.

        112. In addition to the actual damages caused by Defendants’

misappropriation and/or dissemination of Bosch’s trade secrets, Bosch is entitled to

damages arising out of the unjust enrichment caused by Defendants’

misappropriation.    Such damages include, but are not limited to, the profits

generated by Defendants’ use of Bosch’s trade secrets.



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                       COUNT V
    COMMON LAW UNFAIR COMPETITION (BOTH DEFENDANTS)
      113.     Bosch incorporates here the allegations contained in Paragraphs 1

through 112 as if they were fully set forth.

      114. The conduct of Defendants, described above, constitutes common law

unfair competition.

      115. As a direct and proximate result of the acts and course of conduct of

Defendants, Bosch has suffered and will continue to suffer financial loss, loss of

goodwill, and an irreparable loss of the confidentiality of its proprietary

information.

                        COUNT VI
    TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC
                    ADVANTAGE (ANBS)
      116. Bosch incorporates here the allegations contained in Paragraphs 1

through 115 as if they were fully set forth.

      117. Herrera has breached the Confidentiality Agreement.

      118. Upon information and belief, ANBS was aware of Herrera's

Confidentiality Agreement and the restrictive covenants therein, and induced

Herrera to breach those covenants in violation of his contract with Bosch.

      119. Defendants’ conduct has led to actual and threatened misappropriation

of Bosch’s trade secrets, proprietary information, reputation, and goodwill.




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      120. Upon information and belief, ANBS intentionally interfered with

Herrera's Confidentiality Agreement with Bosch, and acted with malicious intent to

inflict harm on Bosch.

      121. As a direct and proximate result of ANBS's conduct, Bosch has

suffered and will continue to suffer financial loss, loss of goodwill, and an

irreparable loss of the confidentiality of its proprietary information, for which it

has no adequate remedy at law.

                           COUNT VII
              UNJUST ENRICHMENT (BOTH DEFENDANTS)
      122. Bosch incorporates here the allegations contained in Paragraphs 1

through 121 as if they were fully set forth.

      123. Defendants have received and continue to receive a significant benefit

from the proprietary information and trade secrets that they misappropriated from

Bosch.

      124. It would be inequitable and unjust for Defendants to retain such

benefits without providing full compensation to Bosch.

      125. Defendants’ unjust and wrongful conduct has proximately caused

significant damages to Bosch, including lost profits, increased labor and

administrative costs, and other consequential and incidental damages.




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                                  COUNT VIII
                              INJUNCTIVE RELIEF

      126. Bosch incorporates here the allegations contained in Paragraphs 1

through 125 as if they were fully set forth.

      127. Bosch seeks an injunction restraining Defendants from using Bosch’s

confidential and proprietary processes, and requiring Defendants to return all of

Bosch’s property and proprietary information.

      128. Defendants have demonstrated by that they have no intention of

complying with applicable laws, and Defendants will continue to violate them in

the future unless they are enjoined from doing so.

      129. There is a strong likelihood that Bosch will succeed on the merits

given Defendants’ clear violations of law.

      130. Defendants’ actions will likely cause Bosch irreparable injury that

cannot be remedied at law.

      131. Greater harm would be inflicted on Bosch by the denial of injunctive

relief than would be inflicted upon Defendants if such injunctive relief were issued.

      132. There would be no harm to the public interest if an injunction were

issued.




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                              REQUESTED RELIEF

      WHEREFORE, Bosch respectfully requests that this Court:

      A. Enter a judgment awarding actual damages suffered by Bosch, treble

damages, and costs, interest, and attorneys’ fees incurred in connection herewith;

      B.   Enter a preliminary and permanent Injunction:

            i.   Enjoining Defendants from (a) possessing Bosch’s confidential

                 information or trade secrets, and/or (b) utilizing the confidential

                 information or trade secrets in unfair competition against Bosch.

           ii.   Requiring Defendants to immediately (a) return all confidential

                 information and trade secrets they obtained from Bosch, (b)

                 destroy all copies of such confidential information and trade

                 secrets, and (c) identify any and all persons and entities with whom

                 Defendants have shared such confidential information or trade

                 secrets, or any information contained within such confidential

                 information of trade secrets; and

      C.   Grant Bosch all other relief as this Court deems just and proper.

                                               /s/ S. Thomas Wienner (P29233)
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                            DEMAND FOR JURY TRIAL
      Plaintiff Robert Bosch LLC, by its attorneys, Wienner & Gould, P.C.,

hereby demands a trial by jury in the within cause of action.

                                              /s/ S. Thomas Wienner (P29233)
                                              WIENNER & GOULD, P.C.
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